       Case 2:18-cv-03479-SSV-JCW Document 1 Filed 04/02/18 Page 1 of 8




                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

PLAS HARRIS                                          *      CIVIL ACTION NO.
                                                     *
VERSUS                                               *      JUDGE
                                                     *
JOHN DOE AND                                         *      MAGISTRATE
SCHNEIDER NATIONAL CARRIERS, INC.                    *
                                                     *      JURY TRIAL
* * * * * * * * * * * * * * * *

                                PETITION FOR REMOVAL

       NOW INTO COURT, through undersigned counsel, comes defendant, SCHNEIDER

NATIONAL CARRIERS, INC., who alleges and avers, as follows:

                                                1.

       The above entitled case has been filed in the 21st Judicial District Court for the Parish of

Tangipahoa, State of Louisiana, Civil Docket Number 2018-0000590, Division “B”, and is now

pending therein. The original Petition for Damages was filed on February 23, 2018.

                                                2.

       Citation and a copy of the original Petition for Damages was served on SCHNEIDER

NATIONAL CARRIERS, INC., through its agent for service of process in Louisiana, on or

about March 6, 2018.

                                                3.

       The aforementioned suit is a civil action filed by Plaintiff, PLAS HARRIS.

                                                4.

       Plaintiff, PLAS HARRIS, seeks an award of damages against Defendants for injuries and

damages allegedly arising out of an automobile accident that occurred on or about March 1, 2017

in a parking lot in the Parish of Tangipahoa, State of Louisiana. Exhibit “A”.

                                                1
       Case 2:18-cv-03479-SSV-JCW Document 1 Filed 04/02/18 Page 2 of 8




                                                 5.

       Plaintiff, PLAS HARRIS, is, upon information and belief, persons of the age of majority

and resident of and domiciled in the State of Louisiana.

                                                 6.

       Defendant, SCHNEIDER NATIONAL CARRIERS, INC., is a foreign corporation with

its place of incorporation in the State of Nevada and its principal place of business is in the State

of Wisconsin.

                                                 7.

       Plaintiff, PLAS HARRIS, also named “John Doe” as a defendant, alleging that Mr. Doe

was operating a vehicle owned by SCHNEIDER NATIONAL CARRIERS, INC. at the time of

the accident at issue. Plaintiff also alleges that Mr. Doe is of the age of majority domiciled in an

unknown Parish in an unknown State.           Upon information and belief, that operator is an

individual of the age of majority who resides and is domiciled in the State of Georgia.

                                                 8.

       Defendant, SCHNEIDER NATIONAL CARRIERS, INC., alleges that this Honorable

Court has original jurisdiction over the entitled and numbered cause pursuant to Article III of the

United States Constitution and 28 U.S.C. §1332, and that all Plaintiffs are diverse from all

Defendants named in the Petition for Damages and, upon information and belief, that the alleged

damages of Plaintiff, PLAS HARRIS, exceed $75,000.00, exclusive of interest and costs.

                                                 9.

       The Fifth Circuit has explained that for purposes of establishing removal jurisdiction, a

defendant may demonstrate that the amount in controversy exceeds $75,000, “in either of two

ways: (1) by demonstrating that it is ‘facially apparent’ from the petition that the claim likely



                                                 2
       Case 2:18-cv-03479-SSV-JCW Document 1 Filed 04/02/18 Page 3 of 8




exceeds $75,000 of (2) ‘by setting forth the facts in controversy – preferably in the removal

petition, but sometimes by affidavit – that support a finding of the requisite amount.’” Grant v.

Chevron Phillips Chemical Co., 309 F.3d 864, 868 (5th Cir. 2002) (quoting Allen v. R & H Oil &

Gas Co., 63 F.3d 1326, 1335 (5th Cir. 1995).

                                                 10.

       Plaintiff’s Petition for Damages alleges that “John Doe” was operating a vehicle while in

the course and scope of his employment with SCHNEIDER NATIONAL CARRIERS, INC., and

caused an accident in which Plaintiff, PLAS HARRIS, “suffered severe and grievous injuries

which have required numerous doctor and other medical visits.” Exhibit “A”.

                                                 11.

       Louisiana Code of Civil Procedure Article 893 specifically prohibits the pleading of the

amount of monetary damages sought. Even so, the Petition for Damages does not comply with

the Louisiana Code of Civil Procedure in that it does not contain a general allegation that the

claims are more or less than the requisite amount for federal court diversity jurisdiction, as is

specifically required by La.C.C.P. art. 893(A)(1).

                                                 12.

       On or about March 6, 2018, Brian Calvit, Esq., counsel for Plaintiff, PLAS HARRIS,

emailed undersigned counsel enclosing healthcare records for Plaintiff, PLAS HARRIS. More

specifically, the healthcare records reflect that Plaintiff began treating with Dr. Jorge Isaza at the

Spine Specialists of Louisiana on February 1, 2018 for lower back pain and bilateral leg pain

following the accident at issue. Plaintiff had previously sought treatment with North Oaks

Medical Center and Dr. Nicholas Cefalu for 10 months of conservative treatment. Plaintiff had

undergone a lumbar MRI in December of 2017 at Imaging Center of Louisiana, which Dr. Isaza



                                                  3
       Case 2:18-cv-03479-SSV-JCW Document 1 Filed 04/02/18 Page 4 of 8




believed showed a disc herniation at L4-5 with central canal stenosis and facet arthropathy at L4-

5 and L5-S1. Dr. Isaza diagnosed Plaintiff with lower back pain, prolapsed lumbar intervertebral

disc, spinal stenosis of lumbar region, degeneration of intervertebral disc, stenosis of

intervertebral foramina, sacroiliac joint pain, and arthropathy of the lumbar facet joint, and

referred Plaintiff to Dr. Graham for an L4-5 ESI with a recommendation for an L4-5 SI joint

injection if the initial injection did not provide relief. Exhibit “B”.

                                                 13.

       It reasonably appears that the alleged injuries and damages claimed by Plaintiff, PLAS

HARRIS, as outlined above, exceed the sum of $75,000, exclusive of interest and costs.

                                                 14.

       Spine injuries vary by severity, though spine injuries, especially herniations, often exceed

$75,000.00. Plaintiff’s alleged injuries include complaints of a herniated disc with a

recommendation for lumbar injections. Routinely, un-operated herniation awards in Louisiana

are in the range of $75,000.00 to $100,000.00 in general damages, or even up to $150,000.00.

Trahan v. Deville, 2005-1482 (La. App. 3 Cir. 5/10/06), 933 So. 2d 187, on reh'g (July 19, 2006),

writ denied, 2006-2103 (La. 11/17/06), 942 So. 2d 534 ($75,000.00 for young woman who

undergoes spinal injections and therapy for unspecified neck and back injuries); Este’ v. State

Farm Ins. Companies, 96-99 (La. App. 3 Cir. 7/10/96); 676 So.2d 850 ($75,000.00 for cervical

disc herniation, cervical degenerative condition, constant pain); Smith v. Goetzman, 720 So.2d 39

(La. Ap. 1 Cir. 1998) ($80,000.00 for automobile accident which caused moderate disc bulge and

depression with ongoing treatment); Fruge v. Hebert Oilfield Const., Inc., 2003-349 (La. App. 3

Cir. 10/1/03), 856 So. 2d 100, writ denied sub nom. Fruge v. Herbert Oilfield Const., Inc., 2003-

2997 (La. 1/30/04), 865 So. 2d 77 ($100,000.00 for lumbar herniation with possible future



                                                  4
       Case 2:18-cv-03479-SSV-JCW Document 1 Filed 04/02/18 Page 5 of 8




surgery); Cagle v. Harrah’s Lake Charles, LLC, 2007-653 (La. App. 3 Cir. 12/12/07; 974 So.2d

34. ($150,000.00 for lumbar disc protrusion with radiculopathy with surgical recommendation.).

                                                 15.

       Moreover, Plaintiff has not stipulated and his Petition for Damages does not aver that

Plaintiff’s causes of action do not exceed $75,000 each, exclusive of interest and costs, nor has

he averred or offered the binding stipulations wherein he affirmatively renounces the right to

accept judgment in excess of $75,000, as would be required pursuant to Davis v. State Farm, no.

06-560, slip op. (E.D. La June 7, 2006) (Vance J.) and Kaplan v. Prime Demolition & Disposal,

LLC et. al., No. 08-4714, slip op. (E.D. La. Dec. 18, 2008) (Africk J.). Furthermore, Plaintiff’s

attorney specifically refused to execute the requested Stipulation. Exhibit “C”.

                                                 16.

       On March 20, 2018, counsel for Defendant requested that Plaintiff execute a binding and

irrevocable stipulation that the total amount of damages claimed by him in connection with the

above-referenced lawsuit does not exceed the sum or value of $75,000, exclusive of interests and

costs by March 28, 2018, in order to preclude removal to this court. Plaintiff refused to do so.

Exhibit “C”. Plaintiff’s refusal to stipulate constitutes further evidence that the amount in

controversy is in excess of the requisite amount for federal court diversity jurisdiction.

                                                 17.

       Accordingly, Defendant, SCHNEIDER NATIONAL CARRIERS, INC., is entitled to

remove this case to this Honorable Court for disposition pursuant to the removal provisions of 28

U.S.C. §1441 et seq., as amended.

                                                 18.

       The time in which Defendant herein may file a Petition for Removal in order to properly



                                                  5
       Case 2:18-cv-03479-SSV-JCW Document 1 Filed 04/02/18 Page 6 of 8




remove this case has not yet expired. This Petition for Removal is filed within thirty days from

the day on which the first Defendant was served AND the day on which Plaintiff’s attorney

provided the “other paper” constituting proof of the amount in controversy – March 6, 2018.

                                                 19.

          Defendant files herewith a copy of all process, pleadings, and orders served upon them in

this action, in globo, as Exhibit “D”.

                                                 20.

          In accordance with 28 U.S.C. §1446(d), Defendant will provide appropriate Notice of

Removal to Plaintiff, PLAS HARRIS, and to the Clerk of Court for the 21st Judicial District

Court for the Parish of Tangipahoa, State of Louisiana, by filing of this Petition for Removal and

the Notice of Removal into the record of the state court action.

                                         JURY DEMAND

                                                 21.

          Defendant, SCHNEIDER NATIONAL CARRIERS, INC., is entitled to and requests a

trial by jury on all issues herein.

          WHEREFORE, defendant, SCHNEIDER NATIONAL CARRIERS, INC., prays that

the suit entitled, “Plas Harris v. John Doe and Schneider National Carriers, Inc.,” now pending

in the 21st Judicial District Court for the Parish of Tangipahoa, State of Louisiana, Civil Docket

Number 2018-0000590, Division “B”, be removed to this, the United States District Court for

the Eastern District of Louisiana, and for trial by jury and all just and equitable relief as allowed

by law.




                                                  6
Case 2:18-cv-03479-SSV-JCW Document 1 Filed 04/02/18 Page 7 of 8




                         Respectfully submitted,

                         PERRIER & LACOSTE, L.L.C.

                         /s/ Michael W. Robertson
                         ______________________________________
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                         MICHAEL W. ROBERTSON (#31943)
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                         Email: mrobertson@perrierlacoste.com




                                7
       Case 2:18-cv-03479-SSV-JCW Document 1 Filed 04/02/18 Page 8 of 8




                            UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA

PLAS HARRIS                                        *          CIVIL ACTION NO.
                                                   *
VERSUS                                             *          JUDGE
                                                   *
JOHN DOE AND                                       *          MAGISTRATE
SCHNEIDER NATIONAL CARRIERS, INC.                  *
                                                   *          JURY TRIAL
* * * * * * * * * * * * * * * *

                                       CERTIFICATE

       I HEREBY CERTIFY that a copy of the above and foregoing pleading was this day

forwarded to:

                             Brian D. Calvit, Esq.
                             Law Office of Brian D. Calvit, LLC
                             7920 Wrenwood Blvd., Ste. F
                             Baton Rouge, LA 70809

either through the CM/ECF system, depositing a copy of same in the United States mail, first

class postage prepaid and properly addressed, by hand delivery, by email transmission, or via

facsimile transmission.

       New Orleans, Louisiana, this 2nd day of April, 2018.




                                            /s/ Michael W. Robertson
                                            ______________________________________
                                            MICHAEL W. ROBERTSON




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